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May 8, 2019
Via ECF

Hon. Mark Falk, U.S.M.J.

United States District Court, District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street Room 4015

Newark, NJ 07101

Re: Jeffrey Hale v. Creditors Relief, LLC
Civil Action No. 2:17-cev-02447

Dear Judge Falk:

We write briefly in response to the letter submitted yesterday by Plaintiffs
counsel. Defendant provided written responses to Plaintiff's interrogatories and document requests,
as well as a production of documents a few minutes after Plaintiff submitted his letter to you. We
note that we are in the process of reviewing Plaintiff's discovery responses and expect to send
Plaintiff's counsel a deficiency letter shortly. We are hopeful that the parties will be able to resolve
any discovery issues without assistance from the Court.

Thank you in advance for your time and attention to this matter.

 

Respectfully,
Lee Vartan
LV/ljb
WEST ORANGE NEW JERSEY TRENTON NEW JERSEY NEW YORK NEW YORK

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